             Case 2:10-cr-00477-MCE Document 78 Filed 03/15/11 Page 1 of 3


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 2   MICHAEL PETRIK, Jr., Bar #177913
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 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     ANTHONY MONTANO
 6
 7
 8                          IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )       Case No. 2:10-CR-477 LKK
                                     )
13                  Plaintiff,       )
                                     )       STIPULATION AND ORDER TO CONTINUE
14        v.                         )       STATUS CONFERENCE TO APRIL 19,
                                     )       2011
15   LONNIE TERRELL, ANTHONY         )
     MONTANO, ALEX LINDBERG, JEREMY )        Date: March 15, 2011
16   TERRELL, NICHOLAS ROMAN, and    )       Time: 9:15 a.m.
     RUTH JIMENEZ,                   )       Judge: Hon. Lawrence K. Karlton
17                                   )
                    Defendants.      )
18                                   )
     _______________________________ )
19
20         IT IS HEREBY STIPULATED AND AGREED between plaintiff, United States
21   of   America,   and    defendants,   LONNIE   TERRELL,   ANTHONY   MONTANO,   ALEX
22   LINDBERG, JEREMY TERRELL, NICHOLAS ROMAN, and RUTH JIMENEZ, through their
23   respective attorneys, that the Court should vacate the status conference
24   scheduled for March 15, 2011, at 9:15 a.m., and reset it for April 19,
25   2011, at 9:15 a.m.
26         Counsel for defendants require further time to review discovery and
27   to negotiate with the government in an effort to resolve this matter.
28   / / /
            Case 2:10-cr-00477-MCE Document 78 Filed 03/15/11 Page 2 of 3


 1         It is further stipulated by the parties that the Court should
 2   exclude the period from the date of this order through April 19, 2011,
 3   when it computes the time within which the trial of the above criminal
 4   prosecution must commence for purposes of the Speedy Trial Act.            The
 5   parties stipulate that the ends of justice served by granting defendants’
 6   request for a continuance outweigh the best interest of the public and
 7   the defendants’ in a speedy trial, and that this is an appropriate
 8   exclusion of time for defense preparation within the meaning of 18 U.S.C.
 9   § 3161(h)(7)(A) and (B) (Local Code T4).
10   Dated: March 11, 2011                   Respectfully submitted,
11                                           DANIEL BRODERICK
                                             Federal Defender
12
                                             /s/ M. Petrik
13
                                             MICHAEL PETRIK, Jr.
14                                           Assistant Federal Defender
                                             Attorney for Anthony Montano
15
16   Dated: March 11, 2011                   /s/ M. Petrik for David Dratment
                                             DAVID DRATMAN
17                                           Attorney for Lonnie Terrell
18
19   Dated: March 11, 2011                   /s/ M. Petrik for Ronald Peters
                                             RONALD PETERS
20                                           Attorney for Alex Lindberg
21
22   Dated: March 11, 2011                   /s/ M. Petrik for Daniel Schultz
                                             DANIEL SCHULTZ
23                                           Attorney for Jeremy Terrell
24
25   Dated: March 11, 2011                   /s/ M. Petrik for Lisa Meier
                                             LISA MEIER
26                                           Attorney for Nicholas Roman
27
28


     Stipulation and Order                  -2-
            Case 2:10-cr-00477-MCE Document 78 Filed 03/15/11 Page 3 of 3


 1   Dated: March 11, 2011                   /s/ M. Petrik for Kelly Babineau
                                             KELLY BABINEAU
 2                                           Attorney for Ruth Jimenez
 3
     Dated: March 11, 2011                   BENJAMIN B. WAGNER
 4                                           United States Attorney
 5                                           /s/ M. Petrik for M. Anderson
 6                                           MICHAEL ANDERSON
                                             Assistant U.S. Attorney
 7
 8
 9                                         ORDER
10         IT IS SO ORDERED.    The Court orders time excluded from the date of
11   this order through the status conference on April 19, 2011, pursuant to
12   18 U.S.C. § 3161(h)(7)(A) and (B) (Local Code T4).
13
14   DATED: March 14, 2011
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     Stipulation and Order                  -3-
